                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


  UNITED STATES OF AMERICA                          )
                                                    )
  v.                                                )            NO. 3:19-CR-75-14
                                                    )
  JOHNNY TACKETT                                    )
                                                    )



                                            ORDER

         Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation,

  recommending that the Court: (1) find that the plea hearing in this case could not be further

  delayed without serious harm to the interests of justice; (2) grant Defendant’s motion to

  withdraw his not guilty plea to Count One of the Indictment; (3) accept Defendant’s plea

  of guilty to the lesser included offense in Count One, that is, of conspiracy to distribute and

  possession with intent to distribute 500 grams or more of cocaine, a Schedule II controlled

  substance, in violation of 21 U.S.C. § 846, 841(a)(1), and 841(b)(1)(B); (4) adjudicate

  Defendant guilty of the lesser included offense in Count One of the Indictment; and (5)

  find that Defendant shall remain on supervised release pending sentencing in this matter.

  (Doc. 342.) Neither party filed a timely objection to the report and recommendation. After

  reviewing the record, the Court agrees with the magistrate judge’s report and

  recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

  report and recommendation (Doc. 342) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

  as follows:

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         (1)    As set forth on the record, Defendant’s plea hearing could not be further

  delayed without serious harm to the interests of justice;

         (2)    Defendant’s motion to withdraw his not guilty plea to Count One of the

  Indictment is GRANTED;

         (3)    Defendant’s plea of guilty to the lesser included offense in Count One of the

  Indictment, that is, of conspiracy to distribute and possession with intent to distribute 500

  grams or more of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §

  846, 841(a)(1), and 841(b)(1)(B), is ACCEPTED;

         (4)    Defendant is hereby ADJUDGED guilty of the lesser included offense set

  forth in Count One of the Indictment, that is, that is, of conspiracy to distribute and

  possession with intent to distribute 500 grams or more of cocaine, a Schedule II controlled

  substance, in violation of 21 U.S.C. § 846, 841(a)(1), and 841(b)(1)(B);

         (5)    Defendant SHALL REMAIN on supervised release until sentencing in this

  matter, which is scheduled to take place on March 2, 2021 at 10:00 a.m. in Knoxville

  before the Honorable Harry S. Mattice, Senior United States District Judge.

         SO ORDERED.

                                            /s/  Harry S. Mattice Jr. _________________
                                            HARRY S. MATTICE, JR
                                            SENIOR UNITED STATES DISTRICT JUDGE
                                            November 4, 2020




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